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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                Case No. 1:02-cr-266
                                    )
v.                                  )                Honorable David W. McKeague
                                    )
ARTHUR TRUMAN FISHER,               )
                                    )
                  Defendant.        )
____________________________________)


            REPORT AND RECOMMENDATION ON MOTION TO AMEND

               Defendant Arthur Truman Fisher is serving a 210-month sentence, imposed by United

States District Judge David W. McKeague on March 29, 2004, after defendant’s conviction for

violation of the Controlled Substances Act. On December 28, 2004, defendant filed a pro se motion

to alter or amend his sentence pursuant to 28 U.S.C. § 2255, raising three grounds. Defendant has

now filed a motion for leave to amend his section 2255 motion to add a Sixth Amendment claim.

The proposed additional claim would assert that the court violated defendant’s Sixth Amendment

right to a jury trial when the court enhanced defendant’s sentence under the career offender

guideline, rather than submitting the issue to the jury for resolution beyond a reasonable doubt. In

support of this claim, defendant seeks to rely on the Supreme Court’s decision in United States v.

Booker, 125 S. Ct. 738 (2005). For the reasons set forth below, I conclude that defendant is not

entitled to invoke Booker retroactively to upset his sentence on collateral review, and I therefore

recommend that the motion to amend be denied as futile.
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               A motion to amend a section 2255 petition is governed by Rule 15 of the Federal

Rules of Civil Procedure. See 28 U.S.C. § 2242 (application for habeas corpus “may be amended

or supplemented as provided in the rules of procedure applicable to civil actions.”); Coe v. Bell, 161

F.3d 320, 341 (6th Cir. 1998); Oleson v. United States, No. 00-1938, 2001 WL 1631828, at * 2 (6th

Cir. Dec. 14, 2001) (Rule 15 governs amendment of section 2255 motions). In considering whether

to grant leave to amend under Rule 15(a), the court should consider several factors, including undue

delay, bad faith, repeated failure to cure deficiencies, or futility of amendment. Coe, 161 F.3d at 341.

Although defendant cannot be accused of undue delay in the present action, leave to amend should

nevertheless be denied, as his proposed amendment would be futile. See Oleson, 2001 WL 1631828,

at * 3-4 (affirming denial of leave to amend section 2255 petition on grounds of futility); accord

Rodriguez v. United States, 286 F.3d 972, 980-81 (7th Cir.), cert. denied, 537 U.S. 938 (2002);

Peterkin v. Horn, 988 F. Supp. 534, 541 (E.D. Pa. 1997) (denying leave to amend habeas petition

on grounds of futility).

               In general, a criminal defendant may not rely on new rules of criminal procedure

handed down after his conviction becomes final. See Schriro v. Summerlin, 124 S. Ct. 2519, 2123

(2004). In Humphress v. United States, 398 F.3d 855 (6th Cir. 2005), the Sixth Circuit determined

that the Booker decision announced a new rule of criminal procedure that cannot be invoked to upset

convictions or sentences that became final before Booker was announced. The Court of Appeals

further determined that the new rule enunciated by Booker did not fall within either of the two

narrow exceptions to retroactivity recognized by the Supreme Court.              398 F.3d at 862-63.

Consequently, under Humphress, a federal movant under section 2255 may not invoke Booker to




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challenge application of the sentencing guidelines on Sixth Amendment grounds, if the movant’s

conviction became final before Booker was announced.

               Defendant was sentenced on March 29, 2004. He did not take an appeal within the

ten-day time period allowed by Fed. R. App. P. 4(b)(1). Defendant did file a notice of appeal on

June 7, 2004, but the Court of Appeals ultimately dismissed the appeal for lack of jurisdiction,

finding the appeal untimely. (United States v. Fisher, No. 04-1775 (6th Cir. Sept. 30, 2004)). Under

Sixth Circuit authority, when a criminal defendant does not take a timely appeal to the Court of

Appeals, “the judgment becomes final upon the expiration of the period in which the defendant could

have appealed to the Court of Appeals.” Sanchez-Castellano v. United States, 358 F.3d 424, 427

(6th Cir. 2004). Under this rule, defendant’s conviction became final on April 12, 2004, the

expiration of the ten-day period in which he could have appealed to the Court of Appeals.

               Booker was not decided until the year 2005, many months after defendant’s

conviction became final. Defendant therefore is precluded from relying on Booker to upset his

conviction. Before Booker was announced, the rule in this circuit was that the federal sentencing

guidelines, even if mandatory, did not violate the Sixth Amendment. United States v. Koch, 383

F.3d 436 (6th Cir. 2004) (en banc). Defendant’s sentence was therefore legal when imposed and

remained legal through the date upon which it became final. Defendant is precluded from

challenging his conviction on the basis of Booker or any other decision handed down thereafter.




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                                  Recommended Disposition

               For the foregoing reasons, I recommend that defendant’s motion for leave to amend

his section 2255 motion (docket # 219) be denied as futile.



Dated: April 7, 2005                         /s/ Joseph G. Scoville
                                             United States Magistrate Judge



                                    NOTICE TO PARTIES

               Any objections to this Report and Recommendation must be filed and served within
ten days of service of this notice on you. 28 U.S.C. § 636(b)(1)(C); FED . R. CIV . P. 72(b). All
objections and responses to objections are governed by W.D. MICH. LCIV R 72.3(b). Failure to file
timely objections may constitute a waiver of any further right of appeal. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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